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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                      Case No.: 8:20cv00887


 HARBOR GATES CAPITAL LLC,


                         Plaintiff,
 v.


 APOTHECA BIOSCIENCES, INC. and
 SAEED “SAM” TALARI,

                         Defendants.


                              SECOND AMENDED COMPLAINT

       Plaintiff Harbor Gates Capital LLC (“Harbor Gates”), by and through its undersigned

counsel, hereby files this Second Amended Complaint against Defendants Apotheca Biosciences,

Inc. (“Apotheca”) and Saeed “Sam” Talari (“Talari”) (collectively, “Defendants”). In

furtherance of the same, Harbor Gates respectfully states as follows:

                                      NATURE OF ACTION

       1.         This action (“Action”) arises out of Defendants’ breaches of two (2) convertible

promissory notes dated, March 19, 2019, and April 26, 2019.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this Action pursuant to 28 U.S.C. § 1332, in that

there is diversity of citizenship between Harbor Gates and Defendants, and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

       3.      Venue is proper in the Middle District of Florida pursuant to 28 U.S.C. § 1391(b)

in that a significant portion of the conduct at issue in this Action occurred in

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       4.      Pinellas County, Florida. Venue is also proper in the Middle District of Florida

pursuant to 28 U.S.C. § 1391(b) because Defendant Talari is a citizen of and Defendant Apotheca’s

principal place of business is located in Pinellas County, Florida.

                                          THE PARTIES

       5.      Harbor Gates is a limited liability company organized under the laws of the State

of Wyoming, which, at all times relevant to this Action, had its principal place of business in San

Juan, Puerto Rico. None of Harbor Gates’ members are citizens of Florida or Nevada.

       6.      Defendant Apotheca is a Nevada corporation, which at all times relevant to this

Action, had its principal place of business in St. Petersburg, Florida.

       7.      Upon information and belief, Talari is a citizen of St. Petersburg, Florida.

                               CONCEALING WHEREABOUTS

       8.      Harbor Gates, upon information and belief, contends that Defendant Talari is

concealing his whereabouts. On or about May 5, 2020, Harbor Gates’ process server performed a

“Skip Trace” to obtain a current address for Defendant Talari. According to the results of the

“Skip Trace,” Defendant Talari’s address was located at 750 4th Avenue S, Apt. 703, St.

Petersburg, Florida 33701. Harbor Gates has attempted to serve Defendant Talari at this address.

See D.E. 10 at 2. However, neither Defendant Talari nor any person authorized to accept service

on his behalf was present at the address. See id.

       9.      Between June 8, 2020, and August 5, 2020, Harbor Gates made several additional

attempts to serve Defendant Talari at his home address. On each occasion Harbor Gates’ process

server attempted service at Defendant Talari’s home address, there was either no answer on the

building’s call box or at Defendant Talari’s front door. Harbor Gates’ process server also observed

no movement inside the unit during the multiple attempts to serve Defendant Talari. See D.E. 22-



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1 at 2-4. Subsequently, Harbor Gates discovered an alternative work address for Defendant Talari

at 9375 US Hwy 19 N, Suite A, Pinellas Park, Florida 33782 and requested that its process server

attempt service at that address. Harbor Gates’ process server has made four (4) attempts to serve

Defendant Talari at that address. However, an office assistant at that address has stated that

Defendant Talari was either not there or was never there (email correspondence regarding the

attempts is attached hereto as “Exhibit A”).1 See Exhibit A. Harbor Gates has also not been able

to serve Defendant Talari at Defendant Apotheca’s business address because during the service

process, Harbor Gates has learned that Defendant Apotheca’s business address is vacant. See D.E.

20, 23. However, after conducting a subsequent search through Sunbiz.org, Harbor Gates located

an additional potential work address for Defendant Talari at 1301 Seminole Boulevard, #126,

Largo, Florida 33770. Harbor Gates instructed its process server to attempt service at that address,

but service was returned unexecuted. See D.E. 27.

           10.      Despite numerous attempts to serve process on Defendant Talari, Harbor Gates has

been unable to serve Defendant Talari because Defendant Talari is actively concealing his

whereabouts and evading service.

                                                 BACKGROUND

           11.      Defendant Apotheca has promoted itself as a global leader in discovering new

cannabinoid medical technologies to improve quality of life. Defendant Apotheca has advertised

that it develops, engineers, licenses, and markets cannabinoid technologies and products in various

market sectors.

           12.      In an effort to launch a new pharmaceutical grade CBD product line, Defendant

Apotheca incorporated a new subsidiary ProMED Biosciences, Inc. (“ProMED”).



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    Harbor Gates is awaiting an executed affidavit of nonservice from its process server.

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       13.     In or about February 2019, an agent of Defendant Apotheca contacted Harbor Gates

regarding an opportunity to provide Defendant Apotheca with necessary investment capital to fund

ProMED’s initial pharmaceutical grade CBD product line (“Project I”).

       14.     Prior to investing, Defendant Apotheca’s Chief Financial Officer at the time,

Defendant Talari, disclosed that Defendant Apotheca had only issued two (2) other notes, and

therefore, had not entered into significant debt transactions. On or about February 25, 2019,

Defendant Talari also advised Harbor Gates that ProMED had already received approximately

$500,000.00 in preorders and had a full sales infrastructure in place. Finally, Defendant Talari

informed Harbor Gates, that Defendant Apotheca expected approximately $1.2 million in total

projected revenues for Project I.

       15.     Based on this information, Harbor Gates agreed to invest in Defendant Apotheca’s

ProMED investment opportunity and made two (2) loans to Defendant Apotheca totaling

$280,500.00.

       16.     On or about March 19, 2019, Defendant Apotheca issued a six (6) month, 5% fixed

convertible promissory note to Harbor Gates in the principal amount of $165,000.00 (“March

Note”) (March Note is attached hereto as “Exhibit B”), and convertible into shares of Defendant

Apotheca’s common stock. Harbor Gates funded the March Note on March 19, 2019. The March

Note was due and payable on or about September 19, 2019 (“March Maturity Date”).

       17.     Within three (3) months of the effective date of the March Note, Defendant

Apotheca agreed to use approximately $150,000.00 of the proceeds as “payment toward the second

half of the product ordered from manufacturer [].” March Note at Schedule 1.

       18.     Prior to Harbor Gates’ second investment, Defendant Talari advised Harbor Gates

during a call on or about April 22, 2019, that Harbor Gates’ investment funds had been used as set



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forth in the March Note and that Defendant Apotheca had received a large amount of ProMED

products and put them into the market for sale. Defendant Talari also told Harbor Gates that the

demand for the ProMED products was strong.

       19.    On or about April 26, 2019, Defendant Apotheca issued a six (6) month, 5% fixed

convertible promissory note to Harbor Gates in the principal amount of $115,500.00 (“April

Note”) (April Note is attached hereto as “Exhibit C”), and convertible into shares of Defendant

Apotheca’s common stock (the March Note and April Note are hereinafter referred to as the

“Notes”). Harbor Gates funded the April Note on April 29, 2019. The April Note was due and

payable on or before October 26, 2019 (“April Maturity Date”).

       20.    According to the April Note, Defendant Apotheca agreed to use approximately

$105,000.00 to make an “inventory purchase of products for [Defendant Apotheca’s] CBD

consumer division.” April Note at Schedule 1.

       21.    However, by May 16, 2019, Defendant Apotheca reported cash of only

$168,462.00, assets of $108,884.00, liabilities of $931,877.00, no revenue since inception, and a

net loss of $2,512,440.00 in its Form 10-K filed with the U.S. Securities and Exchange

Commission (the “Commission”). See Defendant Apotheca 2019 Form 10-K at F-1.

       22.    Although Defendant Apotheca claimed that its ProMED subsidiary had received

approximately $500,000.00 in preorders, ProMED did not have a website.

       23.    On or about June 28, 2019, Harbor Gates became aware that the Commission,

pursuant to Section 12(k) of the Securities Exchange Act of 1934 (the “Exchange Act”), had

suspended trading in Defendant Apotheca’s securities through July 15, 2019. See Apotheca

Biosciences Inc., SEC Release No. 86248, 2019 WL 2725303 (June 28, 2019) (the “Trading

Suspension Order”).



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       24.    On or about July 5, 2019, Defendant Apotheca filed a Petition for Termination of

Suspension of Trading (the “Petition”) with the Commission. On or about July 18, 2019, the

Commission entered its Corrected Order Requesting Additional Written Submissions and set a

briefing schedule on the Petition. In accordance with the briefing schedule, Defendant Apotheca

filed its opening brief (the “Apotheca Brief”) on August 14, 2019. Defendant Apotheca admits

in the Apotheca Brief that it lacked any actual orders of the ProMED product due to a “lack of

timely inventory and terms.” See Apotheca Brief at ¶ 20.

       25.    Upon the Commission’s entry of the Trading Suspension Order, Defendant

Apotheca was in default of the Notes. Section 2.00 of the Notes defines an “Event of Default” as,

among other things, “any trading suspension imposed by the [Commission] under Sections . . .

12(k) of the [Exchange Act]. Notes at § 2.00.

       26.    Subsequent to the Commission’s entry of the Trading Suspension Order, Harbor

Gates never received any other communication from Defendant Talari regarding the operations of

Defendant Apotheca’s business, including its subsidiary ProMED. The only updates that Harbor

Gates received from Defendants was in connection with Defendant Apotheca’s response to the

Commission’s Trading Suspension Order and its attempt to restore trading of Defendant

Apotheca’s securities.

       27.    On or about July 18, 2019, Harbor Gates sent Defendant Apotheca a default notice

(attached hereto as “Exhibit D”) advising it of Defendant Apotheca’s defaults under the Notes.

An Event of Default under the Notes caused any outstanding principal due under the Notes to

become immediately due and payable in cash at the Mandatory Default Amount (as defined in the

Notes). See Notes at § 2.00.

       28.    In addition, Defendant Apotheca failed to repay the Notes by the March Maturity



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Date and April Maturity Date.

        29.     Harbor Gates has provided all notices required under the Notes.              However,

Defendant Apotheca remains in breach of the terms of the Notes.

        30.     As a result of Defendant Apotheca’s conduct, Defendant Apotheca has breached

the terms of the Notes and the Notes are immediately due and payable. However, in spite of

receiving a default notice from Harbor Gates on or about July 18, 2019, Defendant Apotheca has

failed to pay the required principal and interest, including any default interest, due under the Notes.

                                       CAUSES OF ACTION

                                             COUNT I
                                         Breach of Contract

        31.     Harbor Gates repeats and re-alleges the allegations contained in paragraphs 1-29

as if fully set forth in this Count.

        32.     Defendant Apotheca entered into a valid contract with Harbor Gates upon the

execution of the Notes.

        33.     Harbor Gates performed all of the requisite obligations and duties required by the

Notes. However, by engaging in the conduct described herein, Defendant Apotheca breached

several terms of the Notes, including, but not limited to, failing “to satisfy its ‘filing’ obligations

under the [Exchange Act], as amended and the rules and guidelines issued by the OTC Markets

News Service, OTC Marktes.com and their affiliates.” Notes at § 2.00(xvi).

        34.     As a result of the breaches, the Notes have become immediately due and payable.

However, Defendant Apotheca has failed to pay the principal, interest and any penalties due on

the Notes.

        35.     As a direct and proximate result of Defendant Apotheca’s breaches, Defendant

Apotheca has caused Harbor Gates to suffer damages in an amount to be determined at trial.

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                                           COUNT II
                                        Unjust Enrichment

        36.      Harbor Gates repeats and re-alleges the allegations contained in paragraphs 1-34 as

if fully set forth in this Count.

        37.      Defendant Apotheca and Harbor Gates entered into a binding agreement upon the

execution of the Notes.

        38.      Harbor Gates performed all its duties under the Notes.

        39.      Defendant Apotheca benefitted from the funding provided by Harbor Gates

pursuant to the Notes. However, Defendant Apotheca failed to perform certain obligations under

the terms of the Notes. As a result, Defendant Apotheca was unjustly enriched to Harbor Gates’

detriment.

                                           COUNT III
                                      Fraudulent Inducement
                                       (Against Defendants)

        40.      Harbor Gates repeats and re-alleges the allegations contained in paragraphs 1-38 as

if fully set forth in this Count.

        41.      Defendants, through Defendant Talari, knowingly misrepresented to Harbor Gates

that Defendant Apotheca had not entered into significant debt and that ProMED had already

received approximately $500,000.00 in preorders and had a full sales infrastructure in place.

Defendant Apotheca, through Defendant Talari, informed potential investors, including Harbor

Gates, that Defendant Apotheca expected approximately $1.2 million in total projected revenues

for Project I.

        42.      Defendant Talari knowingly misrepresented these facts during a conference call

on or about February 25, 2019. Defendants, through Defendant Talari, made the




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misrepresentations described herein to Harbor Gates in an effort to induce Harbor Gates to enter

into the Notes and fund the loans. See ¶¶ 9, 10 and 18.

          43.    Whether Defendant Apotheca had not entered into significant debt transactions

and whether ProMED already received approximately $500,000.00 in preorders and had a full

sales infrastructure in place was material to Harbor Gates in connection with its decision to

invest.

          44.    Defendants knew that these material misrepresentations were false at the time he

communicated this information to Harbor Gates.

          45.    Harbor Gates would not have invested if it had known of these material

misstatements.

          46.    Harbor Gates reasonably relied on Defendants’ material misstatements when it

invested in Defendant Apotheca through the Notes.

          47.    Harbor Gates could not have discovered the truth of Defendants’ misstatements

and omissions through the exercise of ordinary diligence because the information was either kept

confidential or known only by Defendants.

          48.    Defendant Apotheca has failed to repay the Notes. Harbor Gates has been

damaged as a proximate result of Defendants’ fraudulent inducement.

          49.    Because Defendants, through Defendant Talari’s conduct, engaged in fraudulent

conduct willfully and maliciously, and with the intent to damage Harbor Gates, Harbor Gates is

entitled to an award of damages, including punitive damages.

                                 DEMAND FOR TRIAL BY JURY

          Harbor Gates respectfully requests that this matter be heard before a jury.




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                                    DEMAND FOR RELIEF

        WHEREFORE, Harbor Gates Capital LLC respectfully requests that this Court enter a

 judgment in favor of Harbor Gates Capital LLC and against Defendants:

        a.     For actual damages in an amount to be proven at trial;

        b.     For interest and costs;

        c.     Reasonable attorney’s fees pursuant to § 5.00(a) of the Notes; and

        d.     For such other legal or equitable relief as the Court deems just and proper.

 DATED:        August 19, 2020
               Coral Gables, Florida

                                             Respectfully Submitted,

                                             HUNTER TAUBMAN FISCHER & LI LLC

                                             /s/ Mark David Hunter
                                             Mark David Hunter, Esquire
                                             Florida Bar No. 12995
                                             Jenny Johnson-Sardella, Esquire
                                             Florida Bar No. 67372
                                             2 Alhambra Plaza, Suite 650
                                             Coral Gables, Florida 33134
                                             Telephone:    (305) 629-1180
                                             Facsimile:    (305) 629-8099
                                             E-Mail:       mhunter@htflawyers.com
                                                           jsardella@htflawyers.com




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                                    CERTIFICATE OF SERVICE

        I, Jenny Johnson-Sardella, do hereby certify that on August 19, 2020, a true and correct

 copy of the foregoing document was electronically filed and served. Notice of this filing will be

 sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail to

 anyone unable to accept electronic filing as indicated on the notice of electronic filing. Parties

 may access this filing through the Court’s CM/ECF System.


                                                        /s/ Jenny Johnson-Sardella
                                                        Jenny Johnson-Sardella




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